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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
       vs.                                      )   CRIMINAL NO. 09-30026-02-DRH
                                                )
WILLIAM MADISON,                                )
                                                )
                      Defendant.                )

                                          ORDER
A. Order for Detention
      After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform Act,
      the Court orders the above-named defendant detained pursuant to 18 U.S.C. § 3142(e) and
      (i).

B. Statement of Reasons for the Detention
       The Court orders the defendant's detention because it finds:
              By a preponderance of the evidence that no condition or combination of conditions
              will reasonably assure the appearance of the defendant as required.
        X     By clear and convincing evidence that no condition or combinations of conditions
              will reasonably assure the safety of any other person and the community.

C. Finding of Fact
      The Court's findings are based on the evidence which was presented in Court and that which
      was contained in the Pretrial Services Report, and includes the following:
        X (1) Nature and circumstances of the offense charged:
                X (a) The crime:

               Count 3:
               Distribution of a Controlled Substance (“Crack” Cocaine) in violation of 21
               U.S.C. § 841(a)(1)

               Penalties:
               Not less than 5 years and not more than 40 years imprisonment, a $2,000,000
               fine, or both, and at least 4 years supervised release

                 (b) The offense is a crime of violence.
                 (c) The offense is a Federal crime of terrorism.
                 (d) The offense involves a minor victim.
                X (e) The offense involves a controlled substance, firearm, explosive,
                     or destructive device;
                X (f) The offense involves a narcotic drug.
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            X (g) The offense involves a large amount of controlled
                substances, to wit:
                 5 grams or more of “Crack” Cocaine
       X (2) The weight of the evidence against the defendant is high.
       X (3) The history and characteristics of the defendant, including:
          (a) General Factors:
                 _X__ The defendant appears to have a mental condition which may
                                 affect whether the defendant will appear.
                 ___ The defendant has no family ties in the area.
                   X The defendant has no steady employment.
                   X The defendant has no substantial financial resources.
                 ___ The defendant is not a long time resident of the community.
                 ___ The defendant does not have any significant
                         community ties.
                      Past conduct of the defendant:
                 _X__ The defendant has a history relating to drug abuse.
                 _X__ The defendant has a history relating to alcohol abuse.
                   X The defendant has a significant prior criminal record.
                      The defendant has a prior record of failure to appear at court
                         proceedings.
          (b) Whether the defendant was on probation, parole, or release by a court:
                 At the time of the current arrest, the defendant was on:
                 ___ Probation
                      Parole
                 ___ Release pending trial, sentence, appeal or completion of sentence.
          (c) Other Factors:
                       The defendant is an illegal alien and is subject to
                 deportation.
                 ___ The defendant is a legal alien and will be subject to
                 deportation if convicted.
                    X Other: Prior non-compliance with court-ordered supervision, and
                 history of violence and weapons-related offenses

       X    (4) The nature and seriousness of the danger by the defendant's release
                    are as follows: Community Safety


        X   (5) Rebuttable Presumptions
             The Court finds the defendant is subject to and has not rebutted the rebuttable
             presumption that no condition or combination of conditions will reasonably assure
             the appearance of the defendant as required and the safety of any other person and
             the community, as set forth in 18 U.S.C. § 3142(e). In determining that the defendant
             is subject to the rebuttable presumption(s) set forth in 18 U.S.C. § 3142(e), the Court
             finds:

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                       X      (A) Probable cause to believe that the defendant committed a
                                  controlled substance offense for which a maximum term of
                                  imprisonment of 10 years or more is prescribed under Titles 21
                                  or 46; or
                              (B) Probable cause to believe that the defendant committed an
                                  offense under 18 U.S.C. § 924(c); or
                       X      (C) The defendant is charged with:
                                    ____ (1)        A crime of violence; or
                                    ____ (2)        A crime for which the maximum penalty
                                                    is either death or life imprisonment; or
                                    __X__ (3)       A drug offense for which the maximum
                                                    penalty is 10 years imprisonment or
                                                    more; or
                                    ____ (4)        Any felony if the defendant has been
                                                    convicted of two or more offenses
                                                    described in subparagraphs (1) through
                                                    (3) above (or the state or local
                                                    equivalent), or any combination of such
                                                    offenses;
                                    and the defendant has a prior conviction for one of the crimes
                                    described in subparagraphs (1) through (3) above, and said
                                    conviction, or the release from imprisonment therefor, is less
                                    than five years old and was committed while the defendant
                                    was on pre-trial release.

        The Court, in finding that there are no conditions or combination of conditions which
reasonably will assure the defendant's appearance and the safety of any other person and the
community has considered and rejected alternatives. Among the alternatives considered, the Court
has rejected house arrest and a daily reporting scheme. In rejecting these alternatives, the Court
notes the gravity of the offense and the substantial penalties which may possibly be imposed.

D. Additional Directives
      Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
      The defendant be committed to the custody of the Attorney General for confinement in a
      corrections facility separate, to the extent practicable from persons awaiting or serving
      sentences or being held in custody pending appeal; and
      The defendant be afforded reasonable opportunity for private consultation with his counsel;
      and

       That, on order of a court of the United States, or on request of an attorney for the
       Government, the person in charge of the corrections facility in which the defendant is
       confined deliver the defendant to a United States Marshal for the purpose of an appearance
       in connection with a court proceedings.


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      IT IS SO ORDERED.

      DATED: March 31, 2009
                                           s/ Donald G. Wilkerson
                                           DONALD G. WILKERSON
                                           U. S. MAGISTRATE JUDGE




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